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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
CAUSE OF ACTION INSTITUTE                  )
1875 Eye Street, N.W., Suite 800           )
Washington, D.C. 20006,                    )
                                           )
                   Plaintiff,              )
                                           )
            v.                             ) Civil Action No. 19-2698
                                           )
U.S. DEPARTMENT OF COMMERCE                )
1401 Constitution Avenue, N.W.             )
Washington, D.C. 20230,                    )
                                           )
                   Defendant.              )
__________________________________________)

                                    COMPLAINT

      1.    Plaintiff Cause of Action Institute (“CoA Institute”) brings this action

under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, seeking disclosure

of records responsive to two FOIA requests submitted to Defendant U.S.

Department of Commerce (“Commerce”).          Those requests seek access to the

Secretary of Commerce’s final report to the President prepared under 19 U.S.C.

§ 1862—also known as Section 232 of the Trade Expansion Act of 1962 (“Section

232”)—regarding an investigation into the national security impacts of the

importation of uranium (“Section 232 Uranium Report”). CoA Institute’s requests

also seek access to a memorandum prepared by the Department of Defense (“DOD”)

regarding the same investigation.

      2.    This action seeks additional judicial review of Commerce’s policy and

practice of refusing promptly to produce Section 232 reports upon receipt of a valid
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FOIA request and subject only to redaction for “classified . . . or proprietary

information,” as mandated by Congress. See 19 U.S.C. § 1862(b)(3)(B). Commerce

instead has repeatedly withheld Section 232 reports in full, either by neglecting its

obligation of prompt production or on a theory of “temporary” privilege. In either

instance, and as applied in the instant case, Commerce has unlawfully conditioned

the disclosure of Section 232 reports upon the direction of the President and in

order to satisfy the Administration’s goal of opacity on trade matters.

                          JURISDICTION AND VENUE

      3.     Jurisdiction is asserted under 28 U.S.C. § 1331 (actions arising under

the laws of the United States), 5 U.S.C. § 552(a)(4)(B) (FOIA), and 28 U.S.C.

§§ 2201–02 (Declaratory Judgment Act).

      4.     Venue is proper pursuant to 28 U.S.C. § 1391(e) and 5 U.S.C.

§ 552(a)(4)(B).

                                      PARTIES

      5.     CoA Institute is a 501(c)(3) nonpartisan government oversight

organization that uses investigative, legal, and communications tools to educate the

public about how government accountability, transparency, and the rule of law

protect individual liberty and economic opportunity. CoA Institute regularly uses

the FOIA to request access to public records of federal agencies, entities, and offices,

and it publicly disseminates its findings, analysis, and commentary.

      6.     Commerce is an agency within the meaning of 5 U.S.C. § 552(f)(1).

Commerce, by and through its various offices and components, has possession,

custody, and control of records to which CoA Institute seeks access and that are the


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subject of this Complaint. Commerce has implemented and applied the policy and

practice alleged by refusing to disclose Section 232 reports, as required by law.

                                        FACTS

I.    Section 232 and the Preparation of Secretarial Reports

      7.       The United States Constitution grants Congress the sole authority to

set tariffs and “regulate Commerce with foreign Nations[.]”         U.S. Const. art. I,

sec. 8. Section 232 of the Trade Expansion Act of 1962 delegates some of that

authority to Commerce and the President, by allowing him to adjust tariffs on

imported articles to safeguard national security. 19 U.S.C. § 1862.

      8.       Yet Congress’s delegation of tariff authority is not without additional

obligations.    Among other things, the President cannot determine an article’s

impact on national security without a report from the Secretary of Commerce.

      9.       Specifically, Section 232 provides that “[u]pon request of the head of

any department or agency, upon application of an interested party, or upon his own

motion, the Secretary . . . shall” investigate whether importation of an article affects

national security. Id. § 1862(b)(1)(A). Then, within 270 days of starting such an

investigation, the Secretary must create and submit a report to the President with

findings and recommendations about whether to impose tariffs. Id. § 1862(b)(3)(A).

      10.      Section 232 further provides that, at the conclusion of an investigation,

“[a]ny portion of [a] report . . . which does not contain classified . . . or proprietary

information . . . shall be published in the Federal Register.” Id. § 1862(b)(3)(B).

Although the statute does not provide a specific timetable for publication, it does




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not provide for presidential input or control over publication and does not grant

Commerce authority to withhold in full a report in response to a FOIA request.

II.   The Section 232 Process in the Current Administration

      11.    The current Administration has invoked the Section 232 process on

five separate occasions. See Dep’t of Commerce, Bureau of Indus. & Sec., Section

232 Investigations: The Effect of Imports on the National Security, Completed

Reports, available at http://bit.ly/2zotcJe. Commerce has investigated and created

reports on the national-security impacts of the importation of steel, aluminum,

uranium, and automobiles.       Upon information and belief, Commerce is still

investigating the import effects of titanium-sponge and has not yet produced a

report for transmission to the President and publication in the Federal Register.

      12.    When Commerce completed its reports on steel and aluminum in 2018,

it transmitted those reports to the President and—within one month—published

executive summaries in the Federal Register and full reports on its website, subject

to the redaction of classified and proprietary information. See Dep’t of Commerce,

The Effect of Imports of Aluminum on the National Security (Jan. 2018), available

at http://bit.ly/2N35R9q; Dep’t of Commerce, The Effect of Imports of Steel on the

National Security (Jan. 2018), available at http://bit.ly/2L7gBRJ.

      13.    More recently, however, Commerce has changed course and started to

withhold Section 232 reports in full by refusing to publish them in the Federal

Register or to disclose them under the FOIA.




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      14.    This shift in policy and practice is illustrated by Commerce’s treatment

of its report on the national security effects of automobile importation (“Section 232

Automobile Report”).    See Cause of Action Inst., Auto-Tariff Investigation Sets

Dangerous        Anti-Transparency         Precedent,      Apr.       26,        2019,

https://coainst.org/2ZJoRLT.

      15.    In February 2019, after Commerce failed to publish the Section 232

Automobile Report, CoA Institute filed two FOIA requests seeking access to it.

      16.    Approximately four months later, and in the midst of litigation over its

failure to issue a timely determination in response to CoA Institute’s requests for

the automobile report, Commerce sent a letter to CoA Institute stating that the

agency is “reviewing, in conjunction with the Executive Office of the President,

whether the Secretary’s report constitutes a presidential record within the meaning

of the Presidential Records Act . . . in which case it would not be subject to

disclosure under FOIA.” Ex. 1.

      17.    Commerce further stated that, even if the automobile report were

subject to the FOIA, the agency would nonetheless withhold it “pursuant to the

presidential communications privilege and/or the deliberative process privilege,

until all actions deemed necessary to adjust the imports of automobiles and

automobile parts so that such imports will not threaten to impair the national

security have been completed.” Id.

      18.    CoA Institute’s lawsuit against Commerce over access to the Section

232 Automobile Report, and the agency’s use of “temporary” privileges, is pending.




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The parties’ cross-motions for summary judgment are under advisement. See Cause

of Action Inst. v. Dep’t of Commerce, No. 19-0778 (D.D.C. filed Mar. 20, 2019).

       19.    Additionally,   in   April   2019,   Commerce   completed    a   separate

investigation into the “effect of imports of uranium . . . on the national security,”

and it transmitted its final report to the President. See, e.g., The White House,

Presidential Memoranda: Memorandum on the Effect of Uranium Imports on the

National Security and Establishment of the United States Nuclear Fuel Working

Group (July 12, 2019) [hereinafter WH Memo], available at http://bit.ly/326VOmz.

       20.    Commerce did not publish the Section 232 Uranium Report in the

Federal Register and has failed to provide for access to the report on its website.

       21.    In the face of Commerce’s failure to publish or proactively disclose the

Section 232 Uranium Report, CoA Institute filed the two FOIA requests at issue in

this Complaint.

III.   FOIA Request DOC-IOS-2019-001211

       22.    By letter, dated April 15, 2019, CoA Institute sent a FOIA request to

Commerce’s Office of Privacy and Open Government seeking access to a (1) “copy of

the Commerce Secretary’s final report to the President regarding the Section 232

Investigation on the Effect of Imports of Uranium on the National Security,” and (2)

the “DOD response letter to the Section 232 Investigation on the Effect of Imports of

Uranium on the National Security.” Ex. 2.

       23.    CoA Institute sought a public interest fee waiver and requested to be

classified as a representative of the news media for fee purposes. Id. at 1–3.




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      24.    By email, dated May 7, 2019, Commerce indicated via FOIAonline that

CoA Institute’s request would be identified using tracking number DOC-IOS-2019-

001211. Ex. 3. The agency did not issue a formal acknowledgement, nor did it issue

any determinations on CoA Institute’s fee-related requests.

      25.    To date, CoA Institute has received no further communication from

Commerce on its request.

IV.   FOIA Request BIS 19-088

      26.    By letter, dated April 15, 2019 CoA Institute sent a FOIA request to

Commerce’s Bureau of Industry and Security (“BIS”) also seeking access to a (1)

“copy of the Commerce Secretary’s final report to the President regarding the

Section 232 Investigation on the Effect of Imports of Uranium on the National

Security,” and (2) the “DOD response letter to the Section 232 Investigation on the

Effect of Imports of Uranium on the National Security.” Ex. 4.

      27.    CoA Institute sought a public interest fee waiver and requested to be

classified as a representative of the news media for fee purposes. Id. at 1–3.

      28.    By letter, dated May 16, 2019, BIS provided its final determination

and granted CoA Institute’s request, explaining that “[it] intend[s] to provide all

non-exempt documents responsive to [CoA Institute’s] request.” Ex. 5. The agency

also advised that “the report will be made publicly available via publication in the

Federal Register, pursuant to 15 C.F.R. § 710(c), after the President’s review is

complete.” Id. Commerce did not address CoA Institute’s fee-related requests.




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       29.    Between May 2019 and August 2019, counsel for CoA Institute

continued to communicate with Commerce about the availability of the Section 232

Uranium Report.        While those communications were ongoing, the White House

issued a memorandum summarizing that it had completed its review of the effects

of uranium imports on national security. See WH Memo, supra, ¶ 20.

       30.    By email, dated July 15, 2019, Commerce indicated that “an executive

summary [of the uranium report] will be printed in the [Federal Register] within the

next 30 days and the full report will be on the BIS website.” Ex. 6.

       31.    Commerce did not reveal whether it intends to produce the “DOD

response letter to the Section 232 Investigation on the Effect of Imports of Uranium

on the National Security,” which is Item 2 of the FOIA request.

       32.    Despite CoA Institute’s attempts to inquire further with Commerce

after thirty days had elapsed, the agency failed to provide any further clarification

or an update on the availability of the Section 232 Uranium Report. Id.

       33.    To date, neither BIS nor any other agency component has produced

responsive records, notwithstanding Commerce’s previously stated intent to do so,

and the agency still has not published the uranium report in the Federal Register or

disclosed it online.

       34.    Commerce has no lawful basis, beyond withholding segregable

classified or proprietary information, for failing to produce the Section 232 Uranium

Report and the DOD response letter in response to CoA Institute’s FOIA request.




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V.    Commerce’s Reliance on “Temporary” Privileges and Presidential
      Directives to Withhold Section 232 Reports

      35.    Commerce’s obstinance in disclosing the Section 232 automobile and

uranium reports reflects an ahistorical and novel policy and practice of attempting

to condition the publication and dissemination of such reports on presidential

directive, despite Congress’s clear mandate for transparency and public access.

      36.    Whether by invoking the “temporary” application of the presidential-

communications and deliberative-process privileges, claiming that records are

outside agency control, or simply refusing to produce a report that it has already

indicated would be made public available, Commerce’s actions offend the principles

of open government and the letter of the law.

      37.    As a result of Commerce’s policy and practice of withholding Section

232 reports pending presidential approval for disclosure, CoA Institute has suffered

a deprivation of access, both with respect to its requests for the Section 232

Uranium Report and accompanying DOD memoranda, as well as the Section 232

Automobile Report, which is already the subject on ongoing litigation.

      38.    Based on Commerce’s past treatment of CoA Institute’s requests, and

given CoA Institute’s frequent use of the FOIA, it can be reasonably expected that

any future requests for Section 232 reports—such as the now-pending titanium-

sponge report, see supra ¶ 11—will similarly result in an unlawful withholding.

      39.    CoA Institute is entitled to relief in the form of a declaratory order

stating that Commerce’s policy and practice of withholding Section 232 reports




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violates the FOIA.     CoA Institute also is entitled to an injunction directing

Commerce to disavow and refrain from the same unlawful policy and practice.

                                      COUNT 1

     Violation of the FOIA: Failure to Comply with Statutory Deadlines

      40.     CoA Institute repeats all of the foregoing paragraphs.

      41.     The FOIA requires agencies to respond to requests within twenty (20)

business days or, in “unusual circumstances,” thirty (30) business days. 5 U.S.C.

§§ 552(a)(6)(A)–(B).

      42.     More than twenty (20) business days have passed since Commerce

received request DOC-IOS-2019-001211.

      43.     Commerce has not invoked FOIA’s ten-day statutory response

extension due to unusual circumstances for request DOC-IOS-2019-001211.

      44.     The FOIA further requires that, upon determining it will grant a FOIA

request and provide access to records, an agency “shall make the records promptly

available[.]” Id. § 552(a)(3)(A) (emphasis added).

      45.     Despite issuing a final determination on request BIS 19-088

approximately four months ago and stating that it intended to produce non-exempt

responsive records, Commerce has not produced any portion of the Section 232

Uranium Report or accompanying DOD memorandum.

      46.     Commerce has failed to comply with the FOIA’s statutory deadlines to

issue a final determination and to make records promptly available. See Citizens

for Responsibility & Ethics in Wash. v. Fed. Election Comm’n, 711 F.3d 180, 188




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(D.C. Cir. 2013) (“promptly available” means “within days or a few weeks of a

‘determination,’ not months or years”).

      47.     CoA Institute has exhausted its administrative remedies for the

requests at issue in this Complaint under 5 U.S.C. § 552(a)(6)(C).

                                      COUNT 2

   Violation of the FOIA: Policy and Practice of Unlawfully Withholding
            and Delaying the Production of Section 232 Reports

      48.     CoA Institute repeats all of the foregoing paragraphs.

      49.     Commerce maintains a policy and practice of withholding in full and

delaying the production of Section 232 reports until such time as directed by the

White House to release the records. That policy and practice violates the FOIA.

      50.     Commerce’s policy and practice has prevented CoA Institute from

accessing agency records to which it is entitled, and it will likely impair CoA

Institute’s lawful access to such records in the future. See Payne Enters., Inc. v.

United States, 837, F.2d 486 (D.C. Cir. 1988).

      51.     Congress requires that Commerce publish Section 232 reports in the

Federal Register, and it only permits the redaction of classified or proprietary

information. 19 U.S.C. § 1862(b)(3)(B).

      52.     By contrast, Commerce maintains that it may withhold Section 232

reports in full, subject to “temporary privileges.” Commerce relatedly maintains

that it may delay disclosure until such time as the President has finished his review

of a Section 232 report and determined that disclosure may occur.




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      53.     Commerce applied its policy and practice of withholding and delaying

Section 232 reports to CoA Institute’s FOIA requests for the uranium and

automobile reports.

      54.     CoA Institute will likely file future requests for future Section 232

reports, including the titanium-sponge report, which has yet to be finalized, and

those requests are likely be subject to the same improper policy and practice.

Commerce’s policy and practice will therefore impair CoA Institute’s access to

agency records.

                               RELIEF REQUESTED

      WHEREFORE, Plaintiff CoA Institute respectfully requests and prays that

this Court:

      a.      Order Defendant to issue a final determination on request DOC-IOS-

              2019-001211 within twenty (20) days of the date of the Order;

      b.      Order Defendant to produce all records responsive to the requests at

              issue in the Complaint within thirty (30) days of the Order, or within

              thirty (30) days of a final determination, as applicable;

      c.      Declare that Defendant’s policy or practice of withholding in full and

              delaying the production of Section 232 reports violates the FOIA;

      d.      Enjoin Defendant from withholding Section 232 reports in response to

              a FOIA request, except for redactions for classified or proprietary

              information, as set forth by Congress;

      e.      Award CoA Institute its costs and reasonable attorney fees incurred in

              this action pursuant to 5 U.S.C. § 552(a)(4)(E); and


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      f.     Grant such other relief as the Court may deem just and proper.



Date: September 9, 2019                  Respectfully submitted,

                                         /s/ Ryan P. Mulvey
                                         Ryan P. Mulvey
                                         (D.C. Bar No. 1024362)
                                         R. James Valvo, III
                                         (D.C. Bar No. 1017390)

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